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 3   San Francisco, California 94111-2584
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 5
     Attorneys for Defendants
 6   CITY OF MERCED and
     CITY OF MERCED POLICE DEPARTMENT
 7
 8                                                IN THE UNITED STATES DISTRICT COURT
 9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA (FRESNO)
10
11
     JOHN GARCIA,                          )                                                      Case No. 1:07-CV867 OWW
12                                         )
                           Plaintiff,      )                                                      STIPULATION AND ORDER TO
13                                         )                                                      CONTINUE HEARING ON
           v.                              )                                                      PENDING MOTIONS TO
14                                         )                                                      DISMISS AND SET
     CITY OF MERCED, CITY OF MERCED POLICE )                                                      SUPPLEMENTAL BRIEFING
15   DEPARTMENT, BUREAU OF NARCOTICS       )                                                      SCHEDULE
     ENFORCEMENT SPECIAL AGENT             )
16   SUPERVISOR ALFREDO CARDWOOD,          )
     COUNTY OF MERCED, MERCED COUNTY       )
17   SHERIFF’S DEPARTMENT, MERCED COUNTY )
     DEPUTY SHERIFF JOHN TAYLOR, MERCED )
18   COUNTY DISTRICT ATTORNEY’S OFFICE,    )
     DISTRICT ATTORNEY GORDON SPENCER      )
19   DOES 6 through 50,                    )
                                           )
20                         Defendants.     )
                                           )
21
22               Defendants CITY OF MERCED, CITY OF MERCED POLICE DEPARTMENT, BUREAU OF
23   NARCOTICS ENFORCEMENT SPECIAL AGENT SUPERVISOR ALFREDO CARDWOOD,
24   COUNTY OF MERCED, MERCED COUNTY SHERIFF’S DEPARTMENT, MERCED COUNTY
25   DEPUTY SHERIFF JOHN TAYLOR, MERCED COUNTY DISTRICT ATTORNEY’S OFFICE,
26   DISTRICT ATTORNEY GORDON SPENCER (“Defendants”) and plaintiff JOHN GARCIA
27   (“Plaintiff”), through their respective counsel, hereby stipulate as follows:
28               1.          That the hearing of Defendants’ respective motions to dismiss Plaintiff’s Third Amended

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                                    STIPU LATIO N AN D [PR O PO SED ] O R D ER TO C O N TIN U E HEAR IN G O N PEN D IN G M O TIO N S TO D ISM ISS
                                                               AN D SE T SU PPLEM EN TAL BR IEFIN G SC HED U LE
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              Case 1:07-cv-00867-OWW-DLB Document 18 Filed 08/31/07 Page 2 of 3


 1   Complaint, currently scheduled for September 10, 2007, be continued to October 15, 2007, at 10:00
 2   a.m., in Courtroom 3 of the above-entitled court;
 3               2.          That Defendants file and serve supplemental briefing to the pending motions to dismiss,
 4   if desired, in order to address any alleged deficiencies in Plaintiff’s Fourth Amended Complaint by
 5   September 10, 2007;
 6               3.          That Plaintiff file and serve any opposition to Defendants’ supplemental briefing by
 7   September 24, 2007;
 8               4.          That Defendants file and serve any replies to Plaintiff’s opposition to Defendants’
 9   supplemental briefing by October 1, 2007.
10               Dated: August _____, 2007.
11                                                                                       LOW, BALL & LYNCH
12
13                                                                                  By
                                                                                         DALE L. ALLEN, JR.
14                                                                                       DIRK D. LARSEN
                                                                                         Attorneys for Defendants
15                                                                                       CITY OF MERCED and CITY OF MERCED
                                                                                         POLICE DEPARTMENT
16
17               Dated: August _____, 2007.
18                                                                                       OFFICE OF THE ATTORNEY GENERAL
19
20                                                                                  By
                                                                                         JAMES C. PHILLIPS
21                                                                                       Attorneys for Defendant
                                                                                         BUREAU OF NARCOTICS ENFORCEMENT
22                                                                                       SPECIAL AGENT SUPERVISOR ALFREDO
                                                                                         CARDWOOD
23
24               Dated: August ____, 2007
25                                                                                       LAW OFFICE OF NORMAN NEWHOUSE
26
27                                                                                 By _____________________________________
                                                                                      NORMAN C. NEWHOUSE
28                                                                                    Attorney for Plaintiff JOHN GARCIA

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                                    STIPU LATIO N AN D [PR O PO SED ] O R D ER TO C O N TIN U E HEAR IN G O N PEN D IN G M O TIO N S TO D ISM ISS
                                                               AN D SE T SU PPLEM EN TAL BR IEFIN G SC HED U LE
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 1
                 Dated: August _____, 2007.
 2
                                                                                         MERCED COUNTY COUNSEL
 3
 4
                                                                                    By
 5                                                                                       JAMES E. STONE
                                                                                         Attorneys for Defendants
 6                                                                                       COUNTY OF MERCED, MERCED COUNTY
                                                                                         SHERIFF’S DEPARTMENT, MERCED COUNTY
 7                                                                                       DEPUTY SHERIFF JOHN TAYLOR, MERCED
                                                                                         COUNTY DISTRICT ATTORNEY’S OFFICE,
 8                                                                                       DISTRICT ATTORNEY GORDON SPENCER
 9
10
                 IT IS SO ORDERED.
11
     Dated: August _____, 2007.                                                  /s/ Oliver W. Wanger
12   emm0d6                                                                 UNITED STATES DISTRICT JUDGE
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                                    STIPU LATIO N AN D [PR O PO SED ] O R D ER TO C O N TIN U E HEAR IN G O N PEN D IN G M O TIO N S TO D ISM ISS
                                                               AN D SE T SU PPLEM EN TAL BR IEFIN G SC HED U LE
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